                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,   §
      Plaintiffs,                     §
                                      §   Case No. 5:21-cv-844-XR
v.                                    §
                                      §
GREG ABBOTT, et al.,                  §
      Defendants.                     §
OCA-GREATER HOUSTON, et al.,          §
     Plaintiffs,                      §
                                      §
v.                                    §   Case No. 1:21-cv-780-XR
                                      §
JOHN SCOTT, et al,.                   §
      Defendants.                     §


        STATE DEFENDANTS’ MOTION TO DISMISS THE OCA-GREATER
           HOUSTON PLAINTIFFS’ SECOND AMENDED COMPLAINT
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                                                   INTRODUCTION

         The State Defendants moved to dismiss the OCA Plaintiffs’ original complaint. See ECF 55.

At hearing on November 16, the Court warned Plaintiffs to “file an amended complaint to cure the[]

deficiencies” identified by the State Defendants.” Ex. A at 12. Plaintiffs since filed an amended

complaint, see ECF 137, and a substantially-similar second amended complaint, see ECF 200, but the

live complaint contains many of the same deficiencies as before.

         First, Plaintiffs’ claims asserted against the Secretary of State and Attorney General are barred

by sovereign immunity because Plaintiffs fail to establish a sufficient enforcement connection between

those officers and the challenged provisions of Senate Bill 1 (SB1). The majority of the provisions at

issue are enforced by local election officials, like the early-voting clerk or an election judge. Insofar as

the Secretary is involved at all, his actions do not harm Plaintiffs. Neither have Plaintiffs established

that prosecution by the Attorney General is “forthcoming,” particularly in light of the recent ruling by

the Texas Court of Criminal Appeals that Texas law prohibits such prosecutions. See State v. Stephens,

No. PD-1032-20, 2021 WL 5917198 (Tex. Crim. App. Dec. 15, 2021). This means that Plaintiffs

cannot assert the Ex parte Young exception to sovereign immunity—and it also means that Plaintiffs’

alleged injuries are neither caused by the State Defendants nor redressable by injunctive relief directed

at the Secretary or the Attorney General for purpose of Article III standing.

         Second, with respect to Plaintiffs’ claims under the Americans with Disabilities Act (ADA)

Rehabilitation Act, and Section 208 of the Voting Rights Act (VRA), they fail to state a claim on

several bases. Plaintiffs fail to identify specific members with qualifying disabilities as to each of the

relevant entity plaintiffs. Moreover, Plaintiffs lack standing to assert their disability claims, fail to

demonstrate that the State Defendants are proper defendants, and fail to plead legally sufficient claims.

         Plaintiffs had two opportunities to cure these deficiencies when they amended their

complaints, but they failed to do so. The State Defendants respectfully request that their claims be

dismissed. 1

1   Plaintiffs’ claims also fail for reasons not addressed in this Motion. To conserve judicial economy, the State Defendants
    assert only the arguments raised in this Motion, but reserve the right to raise additional arguments at a later juncture.



                                                             1
                                             BACKGROUND

        This is one of several lawsuits attacking SB1, which amends the Texas Election Code. The

OCA Plaintiffs’ suit targets portions of Article 5 and Article 6 of that law.

I.      SB1 Article 5: Mail Voting

        Article 5 of SB1 generally concerns voting by mail, including among other things ballot-

application requirements and procedures for accepting or rejecting applications and ballots. The

sections the OCA Plaintiffs challenge are addressed below.

        Sections 5.02 and 5.03 pertain to the requirements of applications for mail-in ballots and the

prescribed form of the application itself. Section 5.02 requires that applications include the applicant’s
driver’s license number, other form of identification, or a statement that the applicant has not been

issued one of those forms of identification. Tex. Elec. Code § 84.002(a)(1-a). Section 5.03 amends the

prescribed application form to include a space for this information. Id. § 84.011(a)(3-a). The

requirements themselves are enforced by the early-voting clerk, not the Secretary. See id. § 86.001(a)

(early-voting clerk “shall review each application for a ballot to be voted by mail” for compliance with

statutory requirements).

        Section 5.06 concerns the actions the early-voting clerk must take if rejecting an application for

a mail-in ballot. See Tex. Elec. Code § 84.035. SB1 amends the Election Code to authorize the election

judge to allow the applicant to submit a provisional ballot in certain circumstances. See id. § 84.035(b).

This section imposes no duties on, and is not enforced by, the Secretary.

        Section 5.07 directs the early-voting clerk to reject applications for mail-in ballots that do not

contain the information required by Sections 5.02 and 5.03. See Tex. Elec. Code § 86.001(f). It also

requires that the clerk notify the applicant of the rejection and give the applicant an opportunity to

cure the application’s defects. See id. § 86.001(f-1), (f-2). Section 5.07, like Sections 5.02 and 5.03, is

enforced by the early-voting clerk, not the Secretary.

        Section 5.10 concerns electronic tracking of the status of applications for mail-in ballots and

voted ballots. SB1 amends the requirements for that online mail ballot tracker to make it easier for

voters to furnish required information; the tool now must allow voters to add or correct the


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identification information required by SB1 Section 5.02. Id. § 86.015(c)(4). While the Secretary of State

is responsible for developing the tool, id. § 86.015(a), the early-voting clerk is responsible for supplying

relevant information for the system. If the Secretary were enjoined from ensuring the online tool

functioned as required, that would make voting more difficult.

        Section 5.12 creates a method by which mail-in voters can correct defects in submitted mail

ballots. Tex. Elec. Code § 87.0271. If a ballot contains one of several listed defects, and the voter can

correct the defect and return the ballot before election day, the signature verification committee (a

local body of review constituted by the early voting clerk) must provide the voter the opportunity to

do so. See id. §§ 87.027, 87.0271(a), (b). The committee may do so by returning the ballot and a

notification of the defect to the voter by mail, if there is sufficient time for the voter to return the

ballot by mail. Id. § 87.0271(b)(2). If not, the committee may tell the voter by phone or e-mail of (i) the

defect in the ballot and (ii) the two ways to remedy the defect: cancelling the mail-in ballot and voting

in person or correcting the defect in person within the sixth day after Election Day. Id. § 87.0271(c).

The Secretary of State “may prescribe any procedures necessary to implement this section,” id.

§ 87.0271(f), but the statute itself is enforced by the local election officials.

II.     SB1 Article 6: Voter Assistance

        Article 6 of SB1 generally concerns voter assistance, eligibility requirements for giving or

receiving assistance, and related procedures. Plaintiffs challenge the following specific sections.

        Sections 6.03, 6.04, and 6.05 establish procedures for voting assistants. Texas law, like federal

law, entitles certain voters to assistance in marking or reading the ballot if they have an applicable

physical disability or are unable to read the language in which the ballot is written. Tex. Elec. Code

§ 64.031. Following SB1, a person other than an election officer who assists a voter must take an oath,

administered by the local election officer, swearing that the voter is eligible to receive assistance and

that the assistant will assist the voter within the confines of the law. See Tex. Elec. Code § 64.034. The

assistant must also complete a form identifying the assistant’s name and address, the voter’s name and

address, and stating whether the assistant received any compensation or benefit from a candidate,




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campaign, or political committee. Id. § 64.0322(a). While the Secretary of State is responsible for

prescribing the form, the completed forms are submitted with the ballot and reviewed by local election

officials, who are then responsible for accepting or rejecting the ballot. Id. § 64.0322(b); see also id.

§ 86.010(e) (form must be incorporated into the official carrier envelope of the mail-in ballot).

        Section 6.06 concerns penalties for violating voter-assistance laws. It amends the Election Code

to make persons who compensate someone; offer to compensate someone; or solicit, receive, or

accept compensation for assisting voters liable for a state jail felony offense. Id. § 86.0105(a), (c). It

defines “compensation” by referring to the Penal Code’s definition of “economic benefit” and

exempts from its coverage “an attendant or caregiver previously known to the voter.” Id. § 86.0105(e)

(citing Tex. Penal Code § 38.01), (f).

III.    SBI Article 7: Election Offenses

        Section 7.04 concerns election fraud, misconduct, and other unlawful practices. It implements

several new election offenses, including vote harvesting for benefit, see Tex. Elec. Code § 276.015;

unlawful solicitation and distribution of application to vote by mail, id. § 276.016; unlawful distribution

of early voting ballots and balloting materials, id. § 267.017; perjury in connection with election

procedures, id. § 276.018; and unlawfully altering election procedures, id. § 276.019.

                                              ARGUMENT

I.      The Court Lacks Jurisdiction Over Plaintiffs’ Claims

        At bottom, the Court lacks subject-matter jurisdiction over Plaintiffs’ claims with respect to

the State Defendants because the Secretary of State and Attorney General either (i) do not enforce the

SB1 sections Plaintiffs challenge, or (ii) do not harm Plaintiffs with the actions they take to implement

a particular provision and could not redress any injuries by changing their behavior. The former means

that Plaintiffs’ claims are barred by sovereign immunity, and the latter means that Plaintiffs lack

standing to assert their claims. This interrelation is common because the “Article III standing analysis

and Ex parte Young analysis ‘significantly overlap.”’ City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir.

2019) (quoting Air Evac EMS, Inc. v. Tex. Dept. of Ins., 851 F.3d 507, 520 (5th Cir. 2017).



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        Sovereign immunity “prohibits suits against state officials or agencies that are effectively suits

against a state.” Id. “Ex parte Young allows injunctive or declaratory relief against a state official in her

official capacity, but only if the official has a sufficient ‘connection’ with the enforcement of the

allegedly unconstitutional law.” Mi Familia Vota v. Abbott, 977 F.3d 461, 467 (5th Cir. 2020) (citing In

re Abbott, 956 F.3d 696, 708 (5th Cir. 2020)). Fifth Circuit “precedents distill three rules” relevant to

the enforcement-connection inquiry:

            (1) “[I]t is not enough that the state official was merely the but-for cause of
            the problem that is at issue in the lawsuit”;

            (2) “[W]here a statute is being challenged, . . . a provision-by-provision analysis
            is required”; and

            (3) “[I]n the particular context of Texas elections . . . the Secretary’s role varies,
            so [the plaintiffs] must identify the Secretary’s specific duties within the
            particular statutory provision.”

Tex. Democratic Party v. Hughs, 860 F. App’x 874, 877 (5th Cir. 2021) (per curiam) (citing Texas Democratic

Party v. Abbott, 978 F.3d 168, 179–81).

        In addition, a state official “is not a proper defendant” if enjoining the official from performing

the applicable statutory duty would not “afford the Plaintiffs the relief they seek.” Mi Familia Vota,

977 F.3d at 467. In that situation, even assuming the plaintiffs sustained an injury-in-fact, the state

defendants did not cause those injuries, and thus enjoining those officials will not redress their injuries.
See City of Austin, 943 F.3d at 1002 (plaintiffs lack standing unless there is “a significant possibility that

[the state official] will act to harm a plaintiff.”). Put simply, a plaintiff lacks standing to seek injunctive

relief from a defendant whose official actions do not harm him.

        At the pleading stage, “the plaintiffs’ burden is to allege a plausible set of facts establishing

jurisdiction.” Physician Hosps. of Am. v. Sebelius, 691 F.3d 649, 652 (5th Cir. 2012) (citing Davis v. United

States, 597 F.3d 646, 649–50 (5th Cir. 2009)). Because the OCA Plaintiffs fail to do so—they do not

allege facts sufficient to invoke the Ex parte Young exception or establish standing as to the State

Defendants—their claims against the State Defendants must be dismissed.




                                                       5
        A.      Plaintiffs Fail to Plausibly Allege an Enforcement Connection for the Secretary
                of State

        With respect to the Secretary of State, Plaintiffs purport to challenge SB1 Sections 5.02, 5.03,

5.06, 5.07, 5.10, 5.12, 6.03, 6.04, 6.05, and 6.06. See ECF 200 ¶¶ 35–39. Even as repleaded, they do not

allege a sufficient enforcement connection between the Secretary and those sections to establish

jurisdiction.

                1.      The Secretary of State Lacks a Sufficient Enforcement Connection to
                        the Challenged Provisions

        The Secretary does not enforce the challenged sections of SB1 for purposes of Ex parte Young

and Article III standing. The Secretary either has no connection to them or has a connection that does

not create enforcement responsibility, which falls on local officials.
        First, enforcement of many of the requirements are specifically committed to other officials,

like the early-voting clerk, election judge, or signature verification committee. Cf. Mi Familia Vota, 977

F.3d at 468 (Secretary has no enforcement connection with respect to ballot-printing restrictions: “The

Secretary is not responsible for printing or distributing ballots. That responsibility falls on local

officials.”). Indeed several sections—Sections 5.02, 5.06, 5.07, and 6.06—neither mention nor involve

the Secretary of State at all. See Background § I–II.

        Second, the connection between the Secretary and the challenged sections does not create

authority of the type that would permit jurisdiction under Ex parte Young. For instance, the Secretary

must create the tool by which voters can update their personal information for mail-ballot applications.

See Tex. Elec. Code § 86.015(a). The Secretary must create and promulgate the forms required by

Section 5.03 and Sections 6.02–6.04, and he may prescribe procedures to implement Section 5.12’s

ballot-cure requirements. But these duties do not establish sufficient enforcement connections. For

one, creating forms and developing an online ballot tracker do not harm Plaintiffs. See Mi Familia Vota,

977 F.3d at 468 (“Directing the Secretary not to enforce the electronic-voting-devices-only provision

in [Texas Election Code] section 43.007 would not afford the Plaintiffs the relief that they seek, and

therefore, the Secretary of State is not a proper defendant.”) (quotation omitted). For two, while the




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Secretary’s duties are mandatory, they are also ministerial—that is, they compel action by nobody but

the Secretary himself. “Enforcement,” on the other hand, is defined by “compulsion or constraint.”

City of Austin, 943 F.3d at 1000 (quoting K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010)). Plaintiffs

do not allege how creating a form or an online tool compels or constrains them.

                2.       Plaintiffs’ Allegations to the Contrary do Not Establish Otherwise

         Plaintiffs offer several theories of why the Secretary enforces these SB1 sections. None has

merit.

         First, they contend that the Secretary has a sufficient enforcement connection because he is

the “Chief Election Officer” of Texas. ECF 200 ¶ 35. In that capacity, Plaintiffs argue, he “routinely

issues guidance to the county registrars,” as well as “oversee[s] counties’ administration of elections.”

Id. ¶¶ 35–36; see also id. ¶ 37 (“administering the Texas Election Code”). But the Fifth Circuit has

rejected the idea that general legal administration creates an enforcement connection: “A general duty

to enforce the law is insufficient for Ex parte Young.” Tex. Democratic Party v. Abbott, 978 F.3d 168, 181

(5th Cir. 2020) citing Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014) (“The required connection

is not merely the general duty to see that the laws of the state are implemented, but the particular duty

to enforce the statute in question. . . .). The fact that the Secretary is the State’s chief election officer

says nothing about whether he enforces the specific sections Plaintiffs challenge.

         To be sure, the Fifth Circuit previously—and wrongly—found standing satisfied in an earlier

suit against the Secretary of State because the Secretary “serves as the ‘chief election officer of the
state.”’ OCA-Greater Houston v. Hughs, 867 F.3d 604, 613 (5th Cir. 2017). But OCA “involved a facial

challenge under the Voting Rights Act,” not “an as-applied challenge to a law enforced by local

officials.” Tex. Democratic Party v. Hughs, 974 F.3d 570, 571 (5th Cir. 2020) (per curiam) (distinguishing

OCA). Its reasoning is limited, at least, to cases considering “[t]he facial validity of a Texas election

statute.” OCA, 867 F.3d at 613.

         In any event, OCA is inconsistent with Texas authorities, which control on the underlying

question of Texas law: Does being the “chief election officer” empower the Secretary to enforce




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Section 6.04? No, because the “Secretary’s title chief election officer is not a delegation of authority

to care for any breakdown in the election process.” In re Hotze, 627 S.W.3d 642, 649 (Tex. 2020)

(Blacklock, J., concurring) (describing Bullock v. Calvert, 480 S.W.2d 367 (Tex. 1972)) (quotation marks

omitted). OCA did not consider these precedents, or any other opinions from Texas courts. Justice

Blacklock’s In re Hotze concurrence post-dated OCA, so the OCA court did not have a chance to

consider that opinion. And the OCA court appears to have been unaware of Calvert, which was not

cited in the parties’ briefs. Because OCA did not “squarely address[]” Texas cases interpreting the

Secretary’s role as chief election officer, it is not binding “by way of stare decisis.” Brecht v. Abrahamson,

507 U.S. 619, 631 (1993); see Wilson v. Taylor, 658 F.2d 1021, 1034–35 (5th Cir. 1981) (refusing to follow

a Fifth Circuit opinion that conflicted with a previous Supreme Court opinion that “was not called to

the attention of the [first Fifth Circuit] panel”).

        Second, Plaintiffs insist that the Secretary’s designing of the forms used for mail-ballot

applications and voter assistance means that he “enforces” the substance of the laws they challenge.

ECF 200 ¶ 37. Not so. Plaintiffs oppose the personal-identification requirement for mail-in voting

and the oath to refrain from accepting compensation for voter assistance, but the Secretary has

nothing to do with enforcing those requirements. He merely designs the forms that address those

requirements. See Tex. Elec. Code § 31.002(a). The responsibility for enforcing those requirements—

for determining whether the substantive law, rather than the design of the form, has been met—is

committed to the early-voting clerk and other local election officials.

        The Secretary’s role in designing a form, see ECF 200 ¶ 37, might be sufficient in a case where

the plaintiff’s supposed injury is tied to discrimination that allegedly occurs on the form itself. E.g.,

Tex. Democratic Party v. Abbott, 978 F.3d at 180. But that reasoning does not apply here. The OCA

Plaintiffs complain not about the design of the form but that SB1 “requir[es] an application for ballot

by mail or a mail-in ballot to be automatically rejected” in certain circumstances. ECF 200 ¶ 125.

Those rejections are issued by local election officials, and they would occur regardless of the

Secretary’s actions in designing the form. For example, if “the early voting clerk” determines than an

“application does not fully comply with the applicable requirements prescribed by [Title 7 of the


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Election Code],” then the application is considered “defective” and the local officials send a “notice”

explaining the “defect” rather than a mail-in ballot. Tex. Elec. Code § 86.008. Indeed, the Election

Code separately requires local officials to “reject” an application “if the applicant is not entitled to

vote by mail,” id. § 86.001(c), and anyone “who has not made an application as provided by [Title 7

of the Election Code] is not entitled to receive an early voting ballot to be voted by mail.” Id.

§ 84.001(f).

        Third, Plaintiffs point to Texas Election Code Section 31.005, which authorizes the Secretary

to “take appropriate action to protect the voting rights” of Texas citizens. See ECF 200 ¶ 38. But they

fail to connect this statute to SB1. Nor could they; Section 31.005 has nothing to do with SB1.

Plaintiffs’ argument goes to the Secretary’s general administration of elections, not any enforcement

connection specific to SB1. See Texas Democratic Party v. Abbott, 961 F.3d 389, 400–01 (5th Cir. 2020).

        Fourth, and last, Plaintiffs argue the Secretary “routinely collaborates with the Texas Attorney

General to enforce election laws.” ECF 200 ¶ 39. They claim this connection extends to the referring

of election complaints to the Attorney General. See id. This does not suffice both because referring an

election complaint for potential enforcement by another official is not “compulsion or constraint,”

City of Austin, 943 F.3d at 1000 (quoting K.P., 627 F.3d at 124), and because, as explained below, the

OCA Plaintiffs have not plausibly alleged that the Attorney General has a sufficient enforcement role.

See Argument § I.B.

                                           *       *       *

        Plaintiffs fail to demonstrate the Secretary of State has a sufficient enforcement connection to

the provisions of SB1 they challenge. Sovereign immunity thus bars the claims asserted against him.

        B.     Plaintiffs Fail to Plausibly Allege an Enforcement Connection for the Attorney
               General

        Neither do Plaintiffs establish a sufficient enforcement connection with the Attorney General.

As to him, Plaintiffs purport to challenge SB1 Sections 6.04, 6.05, 6.06, and 7.04. They argue that the

Attorney General is sufficiently connected to the enforcement of these provisions because he “is the

chief law enforcement office of the State of Texas and is empowered to enforce Texas law.” ECF 200


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¶ 40. They allege that he is authorized to prosecute election laws, see id., has lawfully prosecuted

election offenses in past cases, id. ¶ 44, may initiate enforcement proceedings based on the new

offenses, id. ¶ 45, posts on Twitter about his commitment to enforcing election laws generally, id. ¶ 46,

and “maintains” election-specific divisions within the Attorney General’s Office, id. ¶ 47.

         However, in State v. Stephens, the Court of Criminal Appeals held that Texas Election Code

§ 273.021—which states that “[t]he attorney general may prosecute a criminal offense prescribed by

the election laws of this state”—“is unconstitutional” and the Attorney General “cannot initiate

prosecution [of election cases] unilaterally.” No. PD-1032-20, 2021 WL 5917198, at *1, 8 (Tex. Crim.

App. Dec. 15, 2021). Accordingly, “the authority of the Attorney General is limited to assisting the

district or county attorney upon request.” Id. at *9. 2 This Court must “take the word of the highest

court on criminal matters of Texas as to the interpretation of its law.” Arnold v. Cockrell, 306 F.3d 277,

279 (5th Cir. 2002) (per curiam).

         The OCA Plaintiffs acknowledge the Stephens decision, but maintain that the Attorney General

is “likely to seek out” requests by local district or county attorneys to prosecute election offenses. ECF

200 at ¶ 44. But “[s]peculation that [the Attorney General] might be asked by a local prosecutor to

‘assist’ in enforcing” SB1 “is inadequate to support an Ex parte Young action against the Attorney

General.” In re Abbott, 956 F.3d at 709 (citing City of Austin, 943 F.3d at 1000). Accordingly, these and

other allegations relating the Attorney General’s authority to prosecute violations of Texas’s elections

law are also insufficient to establish the Attorney General as a proper defendant.

         The OCA Plaintiffs also maintain that the Attorney General may seek to unilaterally prosecute

election offenses notwithstanding Stephens. See ECF 200 at ¶ 44. In essence, they allege that the

Attorney General will act in violation of binding state law. That is entirely speculative, and ignores the

strong presumption of regularity afforded to state prosecutions. And even if the Attorney General

could do so under current state law—which he cannot—the OCA Plaintiffs cannot overcome the

Fifth Circuit’s holding in City of Austin: “the mere fact that the Attorney General has the authority” to

2   The State of Texas and the Attorney General believe that Stephens was wrongly decided. The State has filed a motion
    asking the Texas Court of Criminal Appeals to reconsider its decision.



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enforce a challenged law is insufficient to establish the requisite enforcement connection for purposes

of Ex parte Young. 943 F.3d at 1001. Here, prosecution by the Attorney General—assuming it were

allowed—would be discretionary, see Tex. Elec. Code § 273.021 (“The attorney general may prosecute

a criminal offense prescribed by the election laws of the state.”) (emphasis added). It is the plaintiffs’

burden to show that “enforcement [is] forthcoming.” Tex. Democratic Party, 978 F.3d at 181. “[A]n

official’s public statement” is insufficient to demonstrate a “likelihood” of enforcement. Id. (quoting

In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020), vacated as moot, Planned Parenthood for Choice v. Abbott, 141

S. Ct. 1261 (2021) (per curiam)). So are letters, if they make no “specific threat or indicate that

enforcement [is] forthcoming.” Id. And the same is true of previous enforcement actions. See City of

Austin, 943 F.3d at 1002 (enforcement of “different statutes under different circumstances does not

show that he is likely to do the same here.”). Instead, Plaintiffs must set forth specific facts

demonstrating that “formal enforcement [is] on the horizon.” Tex. Democratic Party, 978 F.3d at 181

(quoting NiGen Biotech, LLC v. Paxton, 804 F.3d 389, 392 (5th Cir. 2015)).

        Simply put, nothing in Plaintiffs’ complaint supports the conclusion that formal enforcement

is on the horizon. Plaintiffs are required to plead specific facts showing that the Attorney General is

likely to enforce sections of SB1 such that they would be injured. They do not.

        C.      Plaintiffs Fail to Demonstrate an Alternative Exception to Sovereign Immunity

        As explained above, the Ex parte Young exception to sovereign immunity does not apply. The

Court therefore lacks jurisdiction over the claims the OCA Plaintiffs assert against the State
Defendants unless they demonstrate an alternative exception to sovereign immunity. See Tex.

Democratic Party, 978 F.3d at 179 (sovereign immunity applies unless it has been “waived by the state,

abrogated by Congress, or an exception applies.”). They fail to do so.

        Count 1 (Section 101, Civil Rights Act of 1964). “Congress has not abrogated sovereign immunity

for Civil Rights Act claims.” Tex. Democratic Party, 860 F. App’x at 877 n.3.

        Counts 2 and 5 (Title II, ADA). As explained in Defendants’ first Motion to Dismiss, the

Supreme Court “established a three-part test for determining whether Title II validly abrogates states’




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sovereign immunity.” Block v. Tex. Bd. of Law Examiners, 952 F.3d 613, 617 (5th Cir. 2020). A court

must determine, on a “claim-by-claim basis”:

             (1) which aspects of the State’s alleged conduct violated Title II; (2) to what
             extent such misconduct also violated the Fourteenth Amendment; and (3)
             insofar as such misconduct violated Title II but did not violate the Fourteenth
             Amendment, whether Congress’s purported abrogation of sovereign immunity
             as to that class of conduct is nevertheless valid.

Id. (quoting United States v. Georgia, 546 U.S. 151, 159 (2006)). Under Georgia, if the plaintiff alleges no

conduct that violates Title II, sovereign immunity applies. Id. at 617–19. As explained below, Plaintiffs

have not alleged the Secretary of State has engaged in conduct violating Title II, so he is entitled to

sovereign immunity on Counts 2 and 5.

        Counts 3 and 6 (Rehabilitation Act). Plaintiffs assert claims under the Rehabilitation Act. Although

a defendant can “waive[] sovereign immunity under § 504 of the Rehabilitation Act,” Plaintiffs plead

no plausible facts to show such waiver. Block, 952 F.3d at 619.

        Count 4 (Section 208, VRA). Although OCA-Greater Houston v. Texas holds that the VRA

abrogates sovereign immunity, 867 F.3d 604, 614 (2007), that case was wrongly decided. “Congress

did not unequivocally abrogate state sovereign immunity under Section 2 of the Voting Rights Act.”

Ala. State Conference of the NAACP v. Alabama, 949 F.3d 647, 655 (11th Cir. 2020) (Branch, J.,

dissenting). Nor did it do so in Section 208. When the VRA authorizes relief against States, it does so

through suits brought by the Attorney General, see, e.g., 52 U.S.C. § 10308(d), which the Supreme

Court has held are not subject to sovereign immunity. See West Virginia v. United States, 479 U.S. 305,

312 n.4 (1987); United States v. Mississippi, 380 U.S. 128, 140 (1965). Although this Court is bound by

OCA-Greater Houston, the State Defendants preserve this argument for appeal.

        Counts 7 and 8 (Section 1983). “Congress has not abrogated state sovereign immunity . . . under

§ 1983,” Raj v. La. State Univ., 714 F.3d 322, 328 (5th Cir. 2013).

        D.      Plaintiffs Have Not Plausibly Alleged Traceability or Redressability

        As explained above, sovereign immunity bars the OCA Plaintiffs’ claims asserted against the

State Defendants because the latter do not have a sufficient enforcement connection to the challenged


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provisions. But even if the OCA Plaintiffs could overcome sovereign immunity, they would still lack

standing to bring their claims because any role the State Defendants have in implementing SB1 does

not actually impose the injuries they have alleged sustained. To reiterate, the Ex parte Young analysis

“significantly overlap[s]” with the traceability and redressability analysis. City of Austin, 943 F.3d at

1002. The most important difference is that traceability and redressability are still required even when

sovereign immunity is inapplicable. See U.S. Const. art. III, § 2.

        Any alleged injuries are not fairly traceable to the Attorney General for another reason. While

the OCA Plaintiffs acknowledge the recent decision in Stephens that the Attorney General lacks the

authority to unilaterally prosecute election law offenses, they nonetheless attempt to establish standing

based on his power to assist local prosecutors upon request. However, that argument rests on their

highly speculative fear that: 1) a district or county attorney will decide to prosecute an individual under

one of the provisions challenged; 2) the individual to be prosecuted will be a member of one of the

organizations bringing this challenge; 3) the county or district attorney will seek the assistance of the

Attorney General; and 4) the Attorney General will agree to provide such assistance. Reliance on this

“speculative chain of possibilities” is insufficient to establish that any prosecutorial injury “is certainly

impending or is fairly traceable.” Clapper v. Amnesty Intl. USA, 568 U.S. 398, 414 (2013). Moreover,

given that the first and third links in the above-described chain of contingencies would require the

Court to engage in “guesswork as to how independent decisionmakers will exercise their judgment,”

this Court should “decline to abandon [the] usual reluctance to endorse standing theories that rest on

speculation about the decisions of independent actors.” Id.

II.     Plaintiffs Fail to State a Claim Under the ADA, Rehabilitation Act, or Section 208

        With respect to the Secretary and Attorney General, Plaintiffs assert two forms of disability-

discrimination claims: (i) under the ADA and the Rehabilitation Act, see ECF 200 ¶¶ 129–175, 182–

194, and (ii) under Section 208 of the VRA, id. ¶¶ 176–181. None of their allegations state a claim

upon which relief can be granted. Plaintiffs do not have qualifying disabilities, and they may not bring

claims on behalf of persons who actually do. Further, they do not allege a sufficient connection




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between either the Secretary of State or the Attorney General and the enforcement of the challenged

sections of SB1. The claims must therefore be dismissed. See Fed. R. Civ. P. 12(b)(1), (6).

        A.      Plaintiffs Fail to Allege Qualifying Disabilities

        None of the Plaintiffs has a qualifying disability. Indeed, none of them could have a qualifying

disability; each of them is an artificial entity that is incapable of being disabled. ECF 200 ¶¶ 14, 19, 23,

28, 32. For that reason alone, their claims must be dismissed.

        Associational standing does not rescue Plaintiffs. Although Plaintiffs allege they have disabled

members, id. ¶¶ 9–12, only REVUP identifies those members. See id. ¶¶ 11, 170–172. The other

Plaintiffs’ failure to identify members who would themselves have standing to bring their claims means

that they have failed to state valid claims. See Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009);

Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2017) (Souter, J.) (dismissing for lack of standing claim of entity

plaintiff that identified no member was affected by challenged regulation); Disability Rights Wis., Inc. v.

Walworth Cnty. Bd. of Supervisors, 522 F.3d 796, 804 (7th Cir. 2008) (dismissing for lack of standing

claims of entity plaintiff that identified no member affected by disability policy); see also Comcast Corp.
v. Natl. Assoc. of African Am.-Owned Media, 140 S. Ct. 1009, 1014 (2020) (“[T]he essential elements of a

claim remain constant through the life of a lawsuit. What a plaintiff must do to satisfy those elements

may increase as a case progresses from complaint to trial, but the legal elements themselves do not

change.”).

        B.      Plaintiffs Cannot Assert Disability Claims as Third Parties

        Even if each Plaintiff had identified particular members, their amended claims would still fail

because Plaintiffs purport to bring individual claims on behalf of third parties. See Danos v. Jones, 652

F.3d 577, 582 (5th Cir. 2011) (plaintiff lacks statutory standing where “alleged rights at issue” belong

to a third party); see also Lexmark Intl., Inc. v. Static Control Components, Inc., 572 U.S. 118, 127–28 nn.3–

4 (2014); accord, e.g., Sims v. Tex. Dept. of Hous. & Cmty. Affairs, No. 4:05-cv-2842, 2005 WL 3132184,

at *4 (S.D. Tex. Nov. 21, 2005) (Rosenthal, J.) (dismissing ADA and Rehabilitation Act claims); Baaske




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v. City of Rolling Meadows, 191 F. Supp. 2d 1009, 1016–17 (N.D. Ill. 2002) (dismissing ADA claim for

lack of third-party standing).

        The third element of the associational-standing test demands that “neither the claim asserted

nor the relief requested requires participation of individual members,” Ctr. for Biological Diversity v. U.S.

Envtl. Prot. Agency, 937 F.3d 533, 536 (5th Cir. 2019), which in turn depends on “the claim’s substance.”

Cornerstone Christian Sch. v. Univ. Interscholastic League, 563 F.3d 127, 134 (5th Cir. 2009). If the claim at

issue has an “individualized element,” then “[t]he involvement of” individual members “is essential to

the resolution of the” claim. Id.

        Plaintiffs’ claims require individual participation, so they cannot be asserted by third-party

entities. Disability claims, in particular, must be determined in a “case-by-case manner.” Toyota Motor

Mfg., Ky., Inc. v. Williams, 534 U.S. 184, 198 (2002). For example, in a failure-to-accommodate case, it

is a plaintiff’s burden “to specifically identify the disability and resulting limitations and to request an

accommodation in direct and specific terms.” Windham v. Harris County, 875 F.3d 229, 236 (5th Cir.

2017). The plaintiff must show that a provider of public services understood the limitations resulting

from a particular disability; “[o]therwise, it would be impossible for the provider to ascertain whether

an accommodation is needed at all, much less identify an accommodation that would be reasonable

under the circumstances.” Id.; see also Wilson v. City of Southlake, 936 F.3d 326, 329–30 (5th Cir. 2019)

(only material difference between standards for ADA and Rehabilitation Act claims is causation

requirements); Friends for Am. Free Enter. Assn. v. Wal-Mart Stores, Inc., 284 F.3d 575, 577 (5th Cir. 2002)

(the “nature of the claims asserted” demonstrates that individual participation is necessary). The case-

by-case nature of a disability claim applies with equal force to challenges made under § 208. E.g., Ray

v. Texas, No. 2:06-cv-385, 2008 WL 3457021, at *1–3, *6–7 (E.D. Tex. Aug. 7, 2008) (considering

specific effect of voting law on particular elderly plaintiffs under § 208).

        Nothing in the amended complaint suggests that disabled voters will face “uniform” issues

across Texas’s 254 counties and despite variation in individual disabilities. Prison Justice League v. Bailey,

697 F. App’x 362, 363 (5th Cir. 2017) (per curiam). In the absence of such uniformity, individual

participation is crucial for understanding the merits of disability claims. Indeed, Plaintiffs cannot even


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claim to be protecting the entire class of those covered by the law; none of the persons identified in

the amended complaint claims an entitlement to assistance on the basis of blindness or inability to

read or write, two of the categories of persons covered by Section 208. 52 U.S.C. § 10508.

        In fact, overlap between this amended complaint and the Houston Justice Plaintiffs’ amended

complaint highlights the error in allowing a plaintiff to make a broad assertion of associational standing

without identifying specific members. Here, REVUP identifies three of the exact same members as

does The Arc of Texas—a Houston Justice plaintiff. Compare ECF 200 ¶¶ 9–11, 170–172 with ECF

199 ¶¶ 58–61. Far from identifying persons with unique interests that would entitle them to sue as a

representative, these plaintiff groups cannot even identify different people.

        Disability claims require individual participation. Their purpose is to ensure that a particular

plaintiff, with a particular disability, can vindicate his particular rights. Plaintiffs here attempt to bring

claims under the ADA, Rehabilitation Act, and Section 208 as an undifferentiated whole. That is not

how disability claims work.

        C.       Plaintiffs’ Alleged Injuries are Not Traceable to the State Defendants

        Stating a claim for disability discrimination, whether under the ADA or the Rehabilitation Act,

requires a plausible allegation that a service, program, or activity that is being denied is “provided by”

the public entity being sued. Ivy v. Williams, 781 F.3d 250, 255 (5th Cir. 2015) (citing Pa. Dept. of Corr.

v. Yeskey, 524 U.S. 206, 210 (1998)), vacated as moot sub nom. Ivy v. Morath, 137 S. Ct. 414 (2016). Plaintiffs’

claims fail because the State Defendants do not provide the benefits Plaintiffs say they should receive.

        In Ivy, the Fifth Circuit explained that plaintiffs there could not state a claim against the Texas

Education Agency regarding “driver education” because TEA did “not provide the program, service,

or activity of driver education.” 781 F.3d at 258. TEA merely regulated and supervised the schools

that provided driver education, rather than providing that service itself. The agency therefore did not

“provide[]” the service for purposes of the ADA and Rehabilitation Act. Id.

        So too here. As explained above, local election officials, not the Secretary or Attorney General,

administer Texas elections. Among other things, they receive and review ballot applications, see Texas




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Election Code § 86.001; mail carrier and ballot envelopes to voters, id. § 86.002; receive and process

marked ballots, id. §§ 86.006, 86.007(b), 86.011; verify voter signatures, id. §§ 87.027(i), 87.041(b)(2);

and count the results, id. § 87.061. The State Defendants do not share those duties.

        In substance, the logic of Plaintiffs’ claims would impose supervisory liability on the State

Defendants. But the Fifth Circuit rejected that logic in Lightbourn v. El Paso County, 118 F.3d 421 (5th

Cir. 1997). There, a group of plaintiffs who were blind and mobility-impaired sued the Secretary of

State because the voting equipment at their polling places did not allow them to vote with complete

secrecy. Id. at 423–24. The district court held the ADA required the development and adoption of

new voting systems—and that the Secretary had violated it because he failed to ensure the local

election authorities complied with that mandate. The Fifth Circuit reversed, explaining that the

Secretary was not responsible for local officials’ non-compliance with the ADA. See id. at 432 (the

Secretary has “no duty under either Texas law or the ADA to take steps to ensure that local officials

comply with the ADA”); see also id. at 429 (although “[t]he Texas Election Code does contain some

provisions requiring the Secretary to take action with respect to elections,” they do not make the

Secretary responsible for local compliance).

        The same is true here for the voter-assistance and signature-match language that Plaintiffs

challenge. Local elections officials, not the State Defendants, provide the benefits of the services that

Plaintiffs contend they have been denied. Plaintiffs cannot plausibly allege that the State Defendants,

who do not enforce the portions of SB1 challenged by the disability claims, have excluded anyone

from a program or denied to anyone a benefit.

        D.      Plaintiffs’ Claims Fail on the Merits

        Finally, Plaintiffs have not plausibly alleged that SB1 actually discriminates against voters with

disabilities—that they are “excluded from participation in, or being denied benefits of,” or “otherwise

being discriminated against” in voting. Smith v. Harris Cty., Texas, 956 F.3d 311, 317 (5th Cir. 2020). In

fact, Texas law expressly prohibits election officials from interpreting the Texas Election Code “to

prohibit or limit the right of a qualified individual with a disability from requesting a reasonable




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accommodation or modification to any election standard, practice, or procedure mandated by law or

rule that the individual is entitled to request under federal or state law.” Tex. Elec. Code § 1.022.

        Disabled Texans have multiple options to vote in every election. Among others, they may

vote:

        •   in a polling place during early voting, see id. § 41.001, 82.005;

        •   at the curbside during early voting, see id. § 64.009;

        •   in a polling place on Election Day, see id. § 81.001;

        •   at the curbside on Election Day, see id. § 64.009; or

        •   by mail, id. at 82.002(a)

These are the same options offered to other voters, except that non-disabled voters are generally not

eligible for curbside voting and may vote by mail only if they are elderly or satisfy other special

conditions. See id. §§ 64.009, 82. 001–004, 82.007–008.

        Plaintiffs have not plausibly alleged how SB1 has so curtailed the availability of voting through

any one of these five methods that it constitutes an exclusion from participating in, or denial of the

benefits of, the election process. See also 28 C.F.R. § 35.150 (“service, program, or activity, when viewed

in its entirety” must be accessible, but public entity does not necessarily need to “make each of its existing

facilities accessible”) (emphases added). After all, Plaintiffs have a right to vote, not a right to vote by

their preferred method. See McDonald v. Bd. of Election Commrs., 394 U.S. 802, 807 (1969) (plaintiffs had

“right to vote,” not “a claimed right to receive absentee ballots”).

        Nor have Plaintiffs plausibly alleged that the operation of SB1 has “failed to make reasonable

accommodations” in voting. Smith, 956 F.3d at 317. Texas law allows for numerous accommodations

for disabled voters. It guarantees to disabled voters the right to request a reasonable accommodation

for or modification of any mandatory election standard, practice, or procedure if the voter is entitled

to such a request under federal or state law. Tex. Elec. Code § 1.022. Texas law also requires particular

accommodations for in-person voting. At least one voting station at each polling location must have




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an accessible voting system that allows voters to cast a ballot both independently and secretly. See id.

§ 61.012. Polling locations must meet strict standards, including curb cuts or temporary nonslip ramps,

ground floor access, wide doorframes, handrails, and the removal of any barrier that impedes a voter’s

pathway to the voting station. Id. § 43.034. To the extent voters cannot enter a polling location, local

election officials must offer alternatives, such as curbside voting, which allows voters to vote without

ever leaving their cars. Id. § 64.009.

        At bottom, the law requires reasonable accommodations, not preferred accommodations. See

Henrietta D. v. Bloomberg, 331 F.3d 261, 275 (2d Cir. 2003) (neither ADA nor Rehabilitation Act requires

equal access or equal results for individuals with disabilities). Texas’s accommodations may not match

Plaintiffs’ preferences perfectly, but they are not required to do so. Texas is required to offer its

disabled voters meaningful access to the opportunity to vote. See Alexander v. Choate, 469 U.S. 287, 301

(1985) (reasonable accommodation must give qualified individuals “meaningful access”); Cadena v. El

Paso Cty., 946 F.3d 717, 725 (qualified individuals have a right to “meaningful access”). That is what

Texas does—and Plaintiffs do not allege otherwise.

                                            *       *       *

        With respect to their claims under the ADA, Rehabilitation Act, and Section 208 of the VRA,

Plaintiffs fail to state a claim from which relief can be granted. They fail to identify specific members,

cannot assert these highly individualized claims as a third party, fail to demonstrate that the State

Defendants deny them the access they seek, and fail to show that SB1 violates the ADA and RA as a

matter of substance. These claims must be dismissed.

III.    The OCA Plaintiffs Lack Private Causes of Action Under the VRA and CRA

        Finally, the OCA Plaintiffs’ claims under §§ 2 and 208 of the Voting Rights Act and Section

101 of the Civil Rights Act must be dismissed because those statutes do not create a private cause of

action. State Defendants will not burden the Court with further briefing on these issues that they

raised in their previous Motion to Dismiss, ECF 54 at 16–21, because of the Court’s denial of these




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arguments during the November 16, 2021 status conference. State Defendants respectfully disagree

with that ruling and raise these arguments to preserve them for further review.

                                           CONCLUSION

       The State Defendants respectfully request that the Court dismiss the claims asserted by the

OCA-Greater Houston plaintiffs.




                                                  20
Date: February 8, 2022                         Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on February 8, 2022, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN




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